Case 2:96-cV-02520-.]PI\/| Document 827 Filed 05/06/05 Page 1 of 3 Page|D 1043

:N THE UNITED STATES DISTRICT ccURT FH.EL‘) .-:3"¥-' _(_`c m.
FOR THE wESTERN DISTRICT OF TENNESSEE 6 “

WESTERN DIVISION g§;;-.g._gy_S &H 8, 3,?

 

DARIUS D. LITTLE,

 

Plaintiff,
V. NO. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The ASSiStant to the Special Maeter in this case, Wanda J.
Kilgore-Schneider, has eubmitted an invoice for fees and expenses
incurred in connection with this matter for the month of
September, 2003, in the amount of $6,710.50. Accordingly, the
Clerk of Court iS directed to send the Sum of $6,710.50 to the
Aesietent Special MaSter, Wanda J. Kilgore-Schneider at, 65

Sunhaven Drive, Jackson, Tenneeeee, 38305.

IT IS SO ORDERED THIS is DAY OF May, 2005.

iv 1057 0ng
///;; P. MCCALLA
. TED STATES DISTRICT JUDGE

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Th!s document entered on the docket sheet |n compliance
with ama 58 andrer?e(a) FHCP on 5 / “OS

 

   

UNIED` STATESDISTRIC COURT - DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 827 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/lemphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Case 2:96-cV-02520-.]PI\/| Document 827 Filed 05/06/05 Page 3 of 3 Page|D 1045

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

